Case 2:21-bk-16674-ER           Doc 366 Filed 09/01/22 Entered 09/01/22 10:08:15                 Desc
                                 Main Document     Page 1 of 9



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 6 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor and Debtor in Possession
 7

 8                                UNITED STATES BANKRUPTCY COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
10                                         LOS ANGELES DIVISION
11

12 In re                                                     Case No. 2:21-bk-16674-ER

13 JINZHENG GROUP (USA) LLC,                                 Chapter 11

14                     Debtor and Debtor-in-                 STIPULATION TO CONTINUE
                       Possession.                           HEARINGS PERTAINING TO THE
15                                                           ESTATE’S INTEREST IN REAL
                                                             PROPERTY LOCATED AT 2240 LORAIN
16                                                           ROAD, SAN MARINO, CA 91108
17
                                                             Current Hearing Date:   September 7, 2022
18
                                                             Proposed Hearing Date: September 14, 2022
19

20            Jinzheng Group (USA) LLC (the “Debtor”), Corona Capital Group, LLC (“Corona”), and
21 Royal Business Bank (“RBB”), agree and stipulate to the following:

22

23                                                     RECITALS
24            A.       On July 20, 2022, Corona filed its motion for relief from the automatic stay as to
25 property located at 2240 Lorain Road, San Marino, CA 91108 (the “Property”) (doc. no. 320) (the

26 “Corona RFS Motion”).

27            B.       On August 10, 2022, RBB filed its motion for relief from the automatic stay as to
28 the Property (doc. no. 333) (the “RBB RFS Motion”).

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Case 2:21-bk-16674-ER            Doc 366 Filed 09/01/22 Entered 09/01/22 10:08:15                 Desc
                                  Main Document     Page 2 of 9



 1            C.       On August 15, 2022, the Debtor filed its motion to approve a compromise between

 2 the Debtor and DNQ, LLC (doc. no. 342) (the “Compromise Motion”).

 3            D.       On August 17, 2022, the Court entered an order consolidating the Corona RFS

 4 Motion, the RBB RFS Motion, and the Compromise Motion (collectively, the “Motions”), such

 5 that all three hearings are scheduled to take place on September 7, 2022 at 11:00 a.m. (the

 6 “Consolidation Order”).

 7            E.       Per the Consolidation Order, the briefing deadlines on the Motions are calculated in

 8 accordance with the September 7, 2022 hearing date.

 9            F.       The Debtor, RBB, and Corona (collectively, the “Parties”) have been discussing the

10 Motions to determine if they can arrive at a consensual resolution.

11            G.       To afford the Parties additional time to continue their discussions, subject to

12 Bankruptcy Court approval, the Parties request a continuance of the hearings on the Motions by

13 one week, to September 14, 2022 at 11:00 a.m.. Additionally, the Parties request an extension of

14 the briefing deadlines on the Motions in accordance with the proposed September 14, 2022

15 consolidated hearing date.

16            NOW THEREFORE, the Parties have conferred and stipulate as follows:
17

18                                                    STIPULATION
19            1.       The above recitals are incorporated herein by reference.

20 ///

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Case 2:21-bk-16674-ER            Doc 366 Filed 09/01/22 Entered 09/01/22 10:08:15                Desc
                                  Main Document     Page 3 of 9



 1            2.        The consolidated hearings on the Motions shall be continued by one week,from

2 September 7, 2022 at 11:00 a.m. to September 14, 2022 at 11:00 a.m., or to such other date and

3 time that is convenient to the Court.

4             3.        The briefing deadlines on the Motions shall be calculated in accordance with the

5 September 14, 2022 consolidated hearing date.

6             4.        The Debtor will lodge an order approving and giving effect to this stipulation.

7

 8            IT IS SO STIPULATED.

9 DATED: August 31, 2022                           DAMNING, GILL,ISRAEL & KRASNOFF,LLP

10

11

12                                                       ALPHAMORLAI L. KESEH
                                                         General Bankruptcy Counsel for Jinzheng Group
13                                                      (USA)LLC,as Debtor and Debtor-in-Possession
14
                  31, 2022                          BUCHALTER LAW FIRM
1.5 DATED: August

1(i

17
                                                         BRIAN T. HARVEY
1K
                                                         Attorneys for Royal Business Bank
19

20 DnTED: August 31, 2022                           LAW OFFICE OF ERIC ALAN MITNICK

~~

~~

23                                                       ERIC MITNICK
                                                         Attorneys for Corona Capital Group, LLC
24

25
~~

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Case 2:21-bk-16674-ER           Doc 366 Filed 09/01/22 Entered 09/01/22 10:08:15                Desc
                                 Main Document     Page 4 of 9



 1            2.       The consolidated hearings on the Motions shall be continued by one week, from

 2 September 7, 2022 at 11:00 a.m. to September 14, 2022 at 11:00 a.m., or to such other date and

 3 time that is convenient to the Court.

 4            3.       The briefing deadlines on the Motions shall be calculated in accordance with the

 5 September 14, 2022 consolidated hearing date.

 6            4.       The Debtor will lodge an order approving and giving effect to this stipulation.

 7

 8            IT IS SO STIPULATED.

 9 DATED: August 31, 2022                         DANNING, GILL, ISRAEL & KRASNOFF, LLP

10

11
                                                  By:
12                                                      ALPHAMORLAI L. KEBEH
                                                        General Bankruptcy Counsel for Jinzheng Group
13                                                      (USA) LLC, as Debtor and Debtor-in-Possession
14

15 DATED: August 31, 2022                         BUCHALTER LAW FIRM

16

17                                                By:
                                                        BRIAN T. HARVEY
18
                                                        Attorneys for Royal Business Bank
19

20 DATED: August 31, 2022                         LAW OFFICE OF ERIC ALAN MITNICK

21

22
                                                  By:
23                                                      ERIC MITNICK
                                                        Attorneys for Corona Capital Group, LLC
24

25

26
27

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Case 2:21-bk-16674-ER   Doc 366 Filed 09/01/22 Entered 09/01/22 10:08:15   Desc
                         Main Document     Page 5 of 9
      Case 2:21-bk-16674-ER                   Doc 366 Filed 09/01/22 Entered 09/01/22 10:08:15                                       Desc
                                               Main Document     Page 6 of 9
                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): STIPULATION TO CONTINUE HEARINGS
PERTAINING TO THE ESTATE’S INTEREST IN REAL PROPERTY LOCATED AT 2240 LORAIN ROAD, SAN
MARINO, CA 91108 will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
On September 1, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On September 1, 2022 I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is
filed.



                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  September 1, 2022                       Beverly Lew                                           /s/ Beverly Lew
  Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
     Case 2:21-bk-16674-ER                    Doc 366 Filed 09/01/22 Entered 09/01/22 10:08:15                                       Desc
                                               Main Document     Page 7 of 9
                                             ADDITIONAL SERVICE INFORMATION (if needed):


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Alphamorlai Lamine Kebeh on behalf of Plaintiff JINZHENG GROUP (USA) LLC                                       akebeh@danninggill.com


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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
     Case 2:21-bk-16674-ER                    Doc 366 Filed 09/01/22 Entered 09/01/22 10:08:15                                       Desc
                                               Main Document     Page 8 of 9
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Peter J Ryan on behalf of Defendant Thomas L. Testa                  ryan@floresryan.com, schneider@floresryan.com

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Allan D Sarver on behalf of Interested Party Courtesy NEF                       ADS@asarverlaw.com
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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
     Case 2:21-bk-16674-ER                    Doc 366 Filed 09/01/22 Entered 09/01/22 10:08:15                                       Desc
                                               Main Document     Page 9 of 9

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United States Trustee (LA)            ustpregion16.la.ecf@usdoj.gov

Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)
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                                               Los Angeles, CA 90012




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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
